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                     UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                           Case No. 1:18-cr-00258-BLW

       Plaintiff,                          MEMORANDUM DECISION
                                           AND ORDER
        v.

 PAVEL BABICHENKO,
 GENNADY BABITCHENKO,
 PIOTR BABICHENKO,
 TIMOFEY BABICHENKO,
 KRISTINA BABICHENKO,
 NATALYA BABICHENKO,
 DAVID BIBIKOV,
 ANNA IYERUSALIMETS,
 MIKHAIL IYERUSALIMETS,
 ARTUR PUPKO,

       Defendants.



                              INTRODUCTION
      Before the Court is Defendant Kristina Babichenko’s Motion to Dismiss

Count 37 (Dkt. 474), Defendant Piotr Babichenko’s Motion to Dismiss Count 47

(Dkt. 480), Defendant Timofey Babichenko’s Motion to Dismiss Count 37 (Dkt.

483), Defendant Gennady Babitchenko’s Motion to Dismiss Count 46 (Dkt. 486),

and Defendant Pavel Babichenko’s Motion to Dismiss Count 36 (Dkt. 502). The




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foregoing motions argue the counts are time-barred because they fall outside the

statute of limitations. For the reasons explained below, the Court will deny the

motions.

                                 BACKGROUND

      On August 14, 2018, the grand jury returned a 34-count indictment charging

the Defendants with wire and mail fraud, counterfeit goods trafficking, and

conspiring to launder the proceeds thereof. Dkt. 1. Count 34 of this indictment is as

follows:

                           COUNT THIRTY-FOUR
                         Conspiracy to Launder Money
                              18 U.S.C. § 1956(h)
      40.    Paragraphs One through Nineteen are incorporated herein.

      41.    Beginning on an unknown date, but by at least January, 2010,
             and continuing through the 14th day of August, 2018, both
             dates being approximate and inclusive, within the District of
             Idaho and elsewhere, the defendants, PAVEL BABICHENKO,
             PIOTR BABICHENKO, TIMOFEY BABICHENKO,
             GENNADY BABITCHENKO, NATALYA BABICHENKO,
             KRISTINA BABICHENKO, ARTUR PUPKO, DAVID
             BIBIKOV, ANNA IYERUSALIMETS, and MIKHAIL
             IYERUSALIMETS, together with others known and unknown
             to the grand jury, did knowingly combine, conspire, confederate
             and agree to commit certain offenses against the United States,
             in violation of Title 18, United States Code, Section 1956(h) as
             follows:
             (a)   to conduct and attempt to conduct and aid and abet others
                   to conduct financial transactions, affecting interstate and
                   foreign commerce, knowing that the property involved in



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                   the financial transactions represented the proceeds of
                   some form of unlawful activity, and the transactions in
                   fact involved the proceeds of violations of Title 18,
                   United States Code, Sections 2320, 1341, 1343, and
                   1349, knowing that such financial transactions were
                   designed in whole and in part to conceal and disguise the
                   nature, location, source, ownership, and control of the
                   proceeds of the specified unlawful activity, in violation
                   of Title 18, United States Code, Section 1956(a)(1)(B)(i).

             (b)   to transport, transmit, and transfer, and attempt to
                   transport, transmit, and transfer, monetary instruments
                   and funds from places outside the United States to and
                   through places in the United States and from places in the
                   United States to and through places outside the United
                   States, knowing that the monetary instruments and funds
                   involved represent the proceeds of violations of Title 18,
                   United States Code, Sections 2320, 1341, 1343, and
                   1349, and knowing that such transportation, transmission
                   or transfer is designed in whole or in part to conceal or
                   disguise the nature and source of the proceeds of the
                   unlawful activity, in violation of Title 18, United States
                   Code, Section 1956(a)(2)(B)(i).
                   All in violation of Title 18, United States Code, Section
                   1956(h).
Dkt. 1 at 16–17.

      On May 15, 2019, the grand jury returned a Superseding Indictment adding

a substantive counterfeit goods trafficking count identical to Count 35 in the

original indictment, and fifteen substantive money laundering counts (Counts 36

through 51). Four of the money laundering counts (Counts 36, 37, 46, and 47) are

at issue in the present motions. The relevant counts are as follows:




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                COUNTS THIRTY-SIX THROUGH FIFTY-ONE
                                  Money Laundering
                            18 U.S.C. §§ 1956(a)(1)(B)(i), 2
      39.     On or about the dates set forth below, each such date
              constituting a separate count of this Superseding Indictment, in
              the District of Idaho and elsewhere, the Defendants identified
              below, conducted and attempted to conduct and aid and abet
              others to conduct financial transactions, affecting interstate and
              foreign commerce, which involved the proceeds of a specified
              unlawful activity, that is violations of Title 18, United States
              Code, Sections 2320, 1341, 1343, and 1349, knowing that the
              transactions were designed in whole and in part to conceal and
              disguise the nature, location, source, ownership, and control of
              the proceeds of said specified unlawful activity and that while
              conducting and attempting to conduct such financial
              transactions knew that the property involved in the financial
              transaction represented the proceeds of some form of unlawful
              activity, to wit:

                                     Approximate
Count           Defendant                                  Monetary Transaction
                                        Date
                                                         $105,000 check drawn on
                                                         Midstar LLC Mountain
                                                         West-Glacier Bank account
                                                         number ending 2951, made
 36          Pavel Babichenko        March 25, 2014      payable to Global
                                                         Distributing LLC and
                                                         deposited to Chase Bank
                                                         N.A. account number
                                                         ending 3706
                                                         $105,000 check drawn on
                                                         Global Distributing LLC
                                                         JPMorgan Chase Bank
            Timofey Babichenko
 37                                   April 4, 2014      N.A. account number
            Kristina Babichenko
                                                         ending 3706, made payable
                                                         to Gennady Babichenko,
                                                         and deposited to Mountain




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                                                         West Bank account number
                                                         ending 4486
                                                         $40,000 check drawn on
                                                         European Denture Center
                                                         Zions Bank account
                                                         number ending 6243, made
                 Gennady
   46                                April 11, 2014      payable to Petr Babichenko
                Babichenko
                                                         and deposited to Cases &
                                                         More LLC Chase Bank
                                                         N.A. account number
                                                         ending 5310
                                                         $40,000 wire transfer
                                                         drawn on Cases & More
                                                         LLC Chase Bank N.A.
                                                         account number ending
                                                         5310 to Zaarn, LLC Chase
   47        Piotr Babichenko        April 15, 2014      Bank N.A. account ending
                                                         6830; $62,500 check drawn
                                                         on Zaarn. LLC Chase Bank
                                                         N.A. account ending 6830,
                                                         payable to Camping World
                                                         RV sales

Dkt. 210 at 18–21.

        The Defendants here argue Counts 36, 37, 46, and 47 should be dismissed

because they are barred by the statute of limitations.


                                LEGAL STANDARD

        The statute of limitations for criminal prosecutions for money laundering is

five years. See 18 U.S.C. § 3283(a). An indictment tolls the statute of limitations as

to all charges contained in the indictment. United States v. Clawson, 104 F.3d 250,




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250-51 (9th Cir. 1996). If the counts in a superseding indictment broaden or

substantially amend the charges in the original indictment, the statute of limitations

does not toll as to those charges. United States v. Pacheo, 912 F.2d 297, 305 (9th

Cir. 1990) (quoting United States v. Italiano, 894 F.2d 1280, 1283 (11th Cir.

1990)). “Notice to the defendant is the central policy underlying the statutes of

limitations.” Pacheo, 912 F.2d at 305. Courts assume the defendant is on notice of

the charges against him when the allegations and charges are substantially the

same in the original and superseding indictments. Id. To determine whether the

superseding indictment substantially changed the original charges, the two

indictments must be compared. United States v. Sears, Roebuck & Co., 785 F.2d

777, 779 (9th Cir. 1986).

                                     ANALYSIS

      Each of the contested counts are based on conduct occurring in March and

early April 2014. Because the Superseding Indictment was filed in May 2019, the

counts fall outside the five-year statute of limitations for money laundering. See 18

U.S.C. § 3283(a). However, if the original Indictment, returned in August 2018,

tolled the statute of limitations, the four counts are not time-barred. The

government argues Counts 36, 37, 46 and 47 relate back to the original Indictment,

and therefore are not barred by the statute of limitations. See Dkt. 507. The




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Defendants argue the relation-back doctrine does not apply because the four new

counts substantially broaden the charges in the original Indictment.

       To determine if a superseding indictment substantially broadens or amends

an indictment, courts consider whether the superseding indictment alleges

violations of a different statute, contains different elements, relies on different

evidence, or exposes the defendants to a potentially greater sentence. United States

v. Liu, 731 F.2d 982, 996–97 (9th Cir. 2013).

       A.       Statute and Elements

       Count 341 of the original Indictment charged the Defendants with conspiring

to launder the proceeds of their criminal activity through financial transactions

made between January 2010 and August 2018 in violation of 18 U.S.C. § 1956(h).

Dkt. 1 at 16–17. In describing the charge, Count 34 identifies the object offense as

money laundering in violation of 18 U.S.C. §§1956(a)(1)(B)(i).

       Counts 36, 37, 46, and 47 of the Superseding Indictment charge the

Defendants with money laundering in violation of 18 U.S.C. §§1956(a)(1)(B)(i) for

the same behavior identified in Count 34 of the original Indictment. Dkt. 210 at 18.

The counts also charge the Defendants with acting as principals under 18 U.S.C. §



       1
        Count 34 of the original indictment is duplicated verbatim as Count 35 of the
Superseding Indictment. See Dkt. 1 at 16-17; Dkt. 210 at 17-18.




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2. Dkt. 210 at 21.

      Because Count 34’s conspiracy charge explicitly incorporates the

substantive money laundering charge of the four contested counts, the Superseding

Indictment does not broaden the original Indictment by charging the Defendants

with an entirely different statute. Moreover, as courts have noted, a conspiracy

charge includes the elements of the object offense. See United States v. Alghazouli,

517 F.3d 1179, 1188–89 (9th Cir. 2008) (“if a jury is asked to determine whether a

defendant conspired to commit an offense, the jury needs to know the elements of

that offense”). Therefore, the conspiracy charge in the original Indictment includes

the elements of the substantive money laundering charges in the Superseding

Indictment.

      B.      Evidence

      Courts recognize that the charges in a superseding indictment are not defined

by the statute alone, but by the factual allegations on which the charges rely.

Italiano, 894 F.2d at 1282. Superseding indictments that simply add detail to the

original charges, narrow the charges, or contain amendments as to form but not

substance, sufficiently relate-back to the original indictment. United States v. Ben

Zvi, 168 F.3d 49, 54 (2d Cir. 1999).

      The original Indictment charges the Defendants with committing wire and




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mail fraud, trafficking in counterfeit goods, and conspiring to launder money. The

Indictment identifies the evidence supporting the charges is as it describes each of

the Defendants and the businesses through which the alleged illegal activity was

conducted. See Dkt. 1.

      Specifically, the original Indictment identifies Defendant Pavel Babichenko

as the owner of Midstar LLC – the business from which the check identified in

Count 36 of the Superseding Indictment was drawn. Id. at 2; Dkt. 210 at 19.

Timofey Babichenko is identified as the owner of Global Distributing LLC – the

business from which the check identified in Count 37 was drawn. Dkt. 1 at 2; Dkt.

210 at 19. The original Indictment lists Piotr Babichenko as the account holder of

the Cases & More LLC bank account identified in Count 46 and 47 of the

Superseding Indictment. Dkt. 1 at 26; Dkt. 210 at 20–21. Gennady Babitchenko is

listed as the owner of European Denture Center, the business from which the check

in Count 47 was drawn. Dkt. 1 at 3; Dkt. 210 at 20–21. Moreover, the Global

Distributing Chase Bank Account ending in 3706 involved in Counts 36 and 37 of

the Superseding Indictment is identified in the criminal forfeiture allegations of the

original Indictment. Dkt. 1 at 25; Dkt. 210 at 19.

      The Defendants argue the original Indictment did not allege any facts

relating to the conspiracy to launder money other than the names of the co-




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conspirators and where it occurred. Dkt. 474-1 at 7. However, the original

Indictment identified the Defendants and businesses responsible for the alleged

conduct charged in the counts at issue. Moreover, the original Indictment

sufficiently described the decade-long scheme of selling counterfeit cell phones

that the Defendants allegedly tried to conceal through the financial transactions

included in the money laundering charges in the Superseding Indictment.

      The Defendants argue the lack of facts in the original Indictment failed to

put them on notice that they may need to defend charges relating to any financial

transaction made within the last eight years. Dkt. 474-1 at 7. However, the charges

in the original Indictment sufficiently place the Defendants on notice of the

conduct and transactions made by the listed businesses and bank accounts

involving the conspiracy to launder money. Though the eight-year span includes a

vast amount of financial transactions, the original Indictment’s alleged criminal

conduct surrounds a decade-long fraudulent scheme involving over a hundred

businesses. See Dkt. 1. The large amount of transactions requiring defense is not a

result of the breadth of the Superseding Indictment, but rather the breadth of the

alleged criminal scheme. The original Indictment was based in the same evidence

as the counts at issue in the Superseding Indictment.

      In fact, the Superseding Indictment is narrower than the original Indictment,




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as it specifically identifies the transactions that serve as the basis for the money

laundering charges. By limiting the charges to specific transactions, rather than

charging the Defendants with a blanket conspiracy to launder the proceeds of the

decade-long operation of fraudulent businesses, the Superseding Indictment limits

the relevant evidence identified in the original Indictment.

      C.      Sentence

      The sentence for money laundering as charged against the Defendants is a

maximum of twenty years imprisonment, and a fine of not more than $500,000 or

twice the value of the property involved in the transaction. 18 U.S.C. §§1956(a)(1).

A defendant convicted of conspiracy is subject to the same penalty prescribed for

the offense which was the object of the conspiracy. 18 U.S.C. § 1956(h) (“Any

person who conspires to commit any offense in this section or section 1957 shall

be subject to the same penalties as those prescribed for the offense the commission

of which was the object of the conspiracy.”). Therefore, the substantive money

laundering charges in the Superseding Indictment do not expose the Defendants to

a potentially greater sentence than that of the conspiracy charge in the original

Indictment.

                                   CONCLUSION

      The Court finds the substantive money laundering charges in Counts 36, 37,




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46, and 47 of the Superseding Indictment relate back to the original Indictment

because the statute, evidence, and sentences are the same as those underlying the

conspiracy to launder money charged in the original Indictment. Therefore, the

original Indictment (Dkt. 1) tolled the five-year statute of limitations for the money

laundering counts. The Court will deny the present motions to dismiss those

counts.

                                      ORDER

      IT IS ORDERED that:

      1.     Defendant Kristina Babichenko’s Motion to Dismiss Count 37 (Dkt.

             474) is DENIED.

      2.     Defendant Piotr Babichenko’s Motion to Dismiss Count 47 (Dkt.

             480) is DENIED.

      3.     Defendant Timofey Babichenko’s Motion to Dismiss Count 37 (Dkt.

             483) is DENIED.

      4.     Defendant Gennady Babichenko’s Motion to Dismiss Count 46 (Dkt.

             486) is DENIED.

      5.     Defendant Pavel Babichenko’s Notice of Joinder in Defendant

             Kristina Babichenko’s Motion to Dismiss Count 36 (Dkt. 502) is

             DENIED.




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                                      DATED: August 3, 2020


                                      _________________________
                                      B. Lynn Winmill
                                      U.S. District Court Judge




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